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12 UNITED STATES DISTRICT COURT
13 FOR THE EASTERN DISTRICT OF CALIFORNIA
14 AND THE NORTHERN DISTRICT OF CALIFORNIA
15 UNITED STATES DISTRICT COURT COMPOSED OF THREE
                                                                                             JUDGES

16 PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
17 RALPH COLEMAN, et aI.,                                      No. 2:90-cv-00520 LKK JFM P

18 Plaintiffs,                                                 THREE-JUDGE COURT

19 v.
20 ARNOLD SCHWARZENEGGER, et aI.,
21 Defendants.
22
           MARCIANO PLATA, et aI.,                             No. C01-1351 TEH
23
                                                               THREE-JUDGE COURT
24 v.                              Plaintiffs,
                                                                EXHIBITS DD TO EXHIBIT 00 TO
 25 ARNOLD SCHWARZENEGGER, et aI.,                              DECLARATION OF PAUL MELLO IN
                                                                SUPPORT OF DEFENDANTS' MOTIONS
 26 Defendants                                                  IN LIMINE

 27                                                             To: Three-Judge Panel

 28
                                                              - 1 -

            DECL. PAUL MELLO SUPP. DEFS.' MOT. IN LIMINE                                                  1648445.1
            (CASE NOS. 90-00520; 01-1351)
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 Alessandra Moore

 From: Kyle Lewis (Kyle.Lewis~doj.ca.govl
 Sent: Friday, August 15, 2008 3:27 PM
 To: ahardy~prisonlaw.com; dspecter~prisonlaw.com; mbien~rbg-Iaw.com
 Cc: Jon Wolff; Lisa Tillman; Paul B. Mello; Renju P. Jacob; Samantha D. Tama

 Subject: 3-Judge Panel -- Supplemental Responses to Defendants'Discovery


Dear Counsel,


As Plaintiffs are aware, the Federal Rules of Civil Procedure impose a
duty to supplement or correct responses to interrogatories, requests for
production, and requests for admissions "in a timely manner if the part
learns that in some material respect the disclosure or response is
incomplete or incorrect." (Fed. R. Civ. P. 26(e)(1)(A).) Most, if not
all, of Plaintiffs' previous responses to Plata and Coleman Defendants'
discovery requests contain outdated, incomplete; and incorrect
information and therefore must be updated in accordance with the federal
rules. For instance, in Defendant Tilton's First Set of .
Interrogatories, Interrogatory no. 4 asks if Plaintiffs contend that the
"plans of the Office of the Receiver, as set forth in the Receiver's
Quarterly Report and Plan of Action dated May 2007 wil fail to result
in DEFENDANTS providing constitutionally adequate medical care.to
PLAINTIFFS?" Plaintiffs provided a supplemental response to this
interrogatory on November 14, 2007. Since that time, the Receiver has
issued two subsequent quarterly reports -- on March 14, 2008, and June
17, 2008. Plaintiffs must update their response to indicate whether
they continue to contend that the plans of the Office of the Receiver
will fail to result in Defendants providing constitutionally adequate
medical care to Plaintiffs in light of the Receiver's two recent
reports.

Given the fact that none of Plaintiffs' discovery responses have been
updated since November 2007, Plaintiffs must provide Defendants with
supplemental responses immediately. Plaintiffs must also provide
Defendants with corresponding privilege logs to the extent that
documents are withheld from production in response to requests for
production of documents. Defendants wil expect to receive supplemental
responses and privilege logs to all previously propounded discovery
requests no later than September 1, 2008. Please inform us by noon on
Monday August 18th if Plaintiffs do not agree to produce supplemental
responses and privilege logs on or before September 1, 2008 so that we
may take immediate and appropriate action with the Court.

We look forward to your prompt response.

Sincerely,

Kyle Lewis

Kyle A. Lewis
Office of the Attorney General
Department of Justice, State of California



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  Alessandra Moore

   From: Samantha D. Tama
   Sent:         Wednesday, August 20,20084:01 PM
   To:           'Maria Morris'
   Cc:           Paul B. Mello; 'rochelle.east~doj.ca.gov'; 'kyle.lewis~doj.ca.gov'; Renju P. Jacob; Charles
                 Antonen; 'Lisa Tillman'; Coleman Team - RBG Only; Sara Norman; Hardy, Alison (EXTERNAL);
                 Donald Specter; 'Jon Wolff
   Subject: RE: Plata/Coleman - Supplementing Discovery Responses

Maria,

Thank you for your response. While i agree with your statement that under Rule 26(e) and
Magistrate Judge Moulds' August 14, 2008 order, Plaintiffs are required to supplement
discovery responses "when and if (you)     learn that a response or responses are incomplete or
inaccurate," I disagree that Plaintiffs have complied with this obligation.

As Kyle Lewis pointed out by way of example in his August 15, 2008 email, Plaintiffs' response
to Interrogatory NO.4 in Defendant Tilton's First Set of Interrogatories was provided on
November 14, 2007, and contains outdated and        incomplete information. The interrogatory
asks if Plaintiffs contend that the "plans of the Office of the Receiver, as set forth in the
Receiver's Quarterly Reports and Plan of Action dated May 2007 will fail to result in
DEFENDANTS providing constitutionally adequate medical care to PLAINTIFFS?" Since
Plaintiffs' November 14, 2007 response, the Receiver has issued two quarterly reports -- on
March 14, 2008 and on June 17,2008. Given that over two months have passed since the
Receiver's most recent quarterly report issued (and over 5 months since the Receiver's
previous quarterly report issued), Plaintiffs are not supplementing discovery in a timely fashion
in compliance with the Federal Rules of Civil Procedure.

Moreover, your statement that Plaintiffs will supplement "when and if' Plaintiffslearn that a
response is incorrect directly contradicts statements contained in Plaintiffs' motion to compel
Defendants to supplement discovery responses, in which you state: "There can be no question
that the circumstances have changed with the passage of time, rendering last year's
productions and responses incomplete and inaccurate." (Joint Statement re Plaintiffs' Motion
to Compel Supplemental Responses and Production at 6:16-17; Plata Docket No. 1358.) You
went on to state that "there is direct evidence of changes and discussions that have occurred
in the last eight months that demonstrate that the productions and other responses from
December 2007 are no longer complete or accurate." (ld. at 7:8-10.)

To that end, Defendants highlight as follows certain discovery responses that should be
prioritized for supplementation immediately. This list is by no means exhaustive of the
responses that Defendants believe require supplementation.

1. Plata Plaintiffs' Response to Defendant Schwarzenegger's First Request for Production of
Documents, Nos. 1, 3, 4, and 11. Plaintiffs objected to each of these requests on the grounds
that they were not relevant to Phase I of the proceeding. Because the trial is no longer
bifurcated (and hasn't been since the Court's February 8, 2008 order), these requests require
immediate responses.




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2. Plata Plaintiffs' Response to Defendant Schwarzenegger's First Set of Interrogatories, Nos.
2, 3, 4, 5, 6, 8, 9, 11, 12, 13, and 14. Similar to the above responses, numbers 2, 3, 8, 9, 11,
12, 13 and 14 are objected to on the grounds that they are not relevant to Phase I of the
proceeding. Number 4 seeks a response "as of the date of PLAINTIFFS' response" whether
Plaintiffs contend that Defendants are failing to provide constitutionally adequate medical care,
and therefore must be updated to the present. Numbers 5 and 6 follow up on number 4.

3. Plata Plaintiffs' Response to Defendant Tilton's First Set of Interrogatories, Nos. 7, 8, and 9.
As with above, all three interrogatories are objected to on the grounds that they are not
relevant to Phase i of the proceeding.

4. Each of the individually-named class members' responses to Defendant Michael Genest's
First Set of Interrogatories, nos. 3, 4, 6, 7, 12, and 13, and the corresponding document
requests.
Defendants will anticipate service  of Plaintiffs' supplemental responses to the above requests
no later than Monday, September 1,2008. Defendants will also anticipate service of a
corresponding privilege  log, as presumably, Plaintiffs have been in contact with their clients.
To the extent you have not been in contact with your clients, a privilege log will nonetheless be
necessary as Plaintiffs undoubtedly have work product responsive to the above requests.

Defendants also note that although they identify which discovery requests require immediate
supplementation, it is not the propounding party's responsibility to do so. Rather, it is Plaintiffs'
obligation as,the responding party to identify those disclosures or responses that are
incomplete or incorrect, and supplement accordingly. (See Fed. R. Civ. P. 26(e)(1)(A).,)
Defendants will therefore also anticipate service of Plaintiffs' supplemental responses to all
other discovery requests that require supplementation, but were not prioritized in the above
list. Plaintiffs' failure to properly supplement discovery requests will result in exclusion at trial
of all evidence that postdates your responses to Defendants' discovery requests. (See August
14,2008 Order at 3:15-20; see also Fed. R. Civ. P. 37(c).)

Sjncerely,

Samantha Tama

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From: Maria Morris (mailto:MMorris(§rbg-law.comJ
Sent: Tuesday, August 19, 2008 5: 13 PM
To: Samantha D. Tama
Cc: Paul B. Mello; 'rochelle.east(§doj.ca.gov'; 'kyle.lewis(§doj.ca.gov'; Renju P. Jacob; Charles Antonen; 'Lisa
Tillman'; Coleman Team - RBG Only; Sara Norman; Hardy, Alison (EXTERNAL); Donald Specter
Subject: RE: Plata/Coleman - Supplementing Discovery Responses


Ms. Tama,

Per the Court's Order and Rule 26(e), we will supplement discovery responses when and ¡fwe learn that a
response or responses are incomplete or inaccurate in a material respect and the information has not otherwise
been made known to Defendants. We are reviewing our responses and will continue to do so. If there are any
particular responses that you believe may no longer be complete or accurate that you would like us to prioritize as
we review responses, please let us know.




 10117/2008
                                                                                                                     Page 3 of4
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 Regards,
 Maria V. Morris


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 From: Samantha D. Tama (mailto:STama(Qhansonbridgett.com)
Sent: Tuesday, August 19, 2008 3:53 PM
To: Hardy, Alison (EXTERNAL); Michael W. Bien; Donald Specter
Cc: Paul B. Mello; Rochelle East; Jon Wolff; Kyle Lewis; Renju P. Jacob; Charles Antonen; ,Lisa Tilman
Subject: Plata/Coleman - Supplementing Discovery Responses


 Dear Counsel,

 I vyrite ,this email on behalf of Kyle Lewis from the AG's Offce, who is out of the office today.

Last week Kyle sent you an e-mail requesting that Plaintiffs comply with Federal Rule of Civil
Procedure 26(e)(1)(A) by supplementing/correcting your incomplete and                                ,incorrect responses to
interrogatories, requests for admissions, and requests for production of documents previously
served on Plaintiffs by the Plata and Coleman Defendants. Kyle requested that you inform us
by noon on Monday, August 18, 2008, if                                you did not agree to produce supplemental responses
and a privilege log. To date, we have not received a response. Accordingly, Defendants
assume that Plaintiffs agree to supplement all incomplete and incorrectdiscovery responses
and provide a privilege                  log, if necessary, by September 1, 2008. If this is not accurate, please
inform me no later than noon tomorrow, Wednesday, August 20,2008.

If Plaintiffs do not agree to supplement all incorrect and incomplete previous discovery
responses and provide a privilege log where necessary, Defendants will file a motion to
exclude all evidence Plaintiffs intend to introduce at trial that postdates your responses to
Defendànts' discovery requests. This is in accordance with Magistrate Judge Moulds' August
14, 2008 Order.

 Sincerely,

 Samantha Tama



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 Samantha D. Tama

 From: Samantha D. Tama
 Sent: Thursday, September 04,20089:47 AM
 To: Maria Morris
 Cc: 'Donald Specter'; 'Michael W. Bien'; Paul B. Mello; Jon Wolff; 'Lisa Tillman'
 Subject: Plata- Discovery Supplementation

Maria-

This email is to follow-up on our communications two weeks ago regarding Plaintiffs' obligation to
supplement their outdated and inaccurate discovery responses from last year. You asked Defendants
to advise you of any discovery responses that we believed required immediate supplementation.
Though the Federal Rules of Civil Procedure specifically place that burden on the responding party (in
this case Plaintiffs), Defendants nonetheless went to the effort of providing Plaintiffs with a list of
responses that required immediate supplementation. Defendants requested that such supplemental
responses be provided by September 1, 2008. i never received a response to my email below
informing me that Plaintiffs would be unable to comply with this request. Nor did Defendants receive
from Plaintiffs any privilege logs, documents, or supplemental responses to the previously-propounded
discovery on or before September 1, 2008.

Please be informed that because Plaintiffs have refused to comply with the Federal Rules of Civil
Procedure in supplementing their outdated and inaccurate discovery responses, Plaintiffs are
precluded from introducing at trial any evidence postdating Plaintiffs' November responses to
Defendants' discovery requests. (See August 14, 2008 Order at 3:15-20; see also Fed. R. Civ. P. 37
(c).)

Sincerely,

Samantha

 SAMANTHA D. TAMA
 Attorney
 sta ma(ghansonbridgett.com
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 (415) 995-3547 Fax                                        ~ HansonBridgett
                                                             ;¡~~
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